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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,
           Plaintiffs,
      v.                                      Civil Action No. 25-0946 (CKK)

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,
           Defendants.

DEMOCRATIC NATIONAL COMMITTEE,
et al.,
           Plaintiffs,
                                              Civil Action No. 25-0952 (CKK)
      v.
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,
           Defendants.

LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,
           Plaintiffs,
      v.                                      Civil Action No. 25-0955 (CKK)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,
           Defendants.



                   REPLY IN SUPPORT OF MOTION TO INTERVENE
                   BY THE REPUBLICAN NATIONAL COMMITTEE
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                                         INTRODUCTION

       No party in the DNC case opposes the RNC’s intervention, where the RNC’s interests are

strongest. That’s reason enough to grant the RNC’s motion in that case. See, e.g., W. Org. of Res.

Councils v. Jewell, 2015 WL 13711094, at *7 (D.D.C. July 15, 2015) (“[A]bsent any substantive

opposition to the applicants’ motions for permissive intervention, the Court will treat these motions

as conceded.”). The only question is whether to grant the RNC party status in the other two

consolidated cases, or further complicate this litigation with arbitrary restrictions on the RNC’s

participation. In their combined response, the League of Women Voters and LULAC Plaintiffs

don’t attempt to address other ongoing consolidated cases in which the RNC is a party. See New

Ga. Project v. Raffensperger, No. 1:24-cv-3412 (N.D. Ga. Dec. 16, 2024); Mi Familia Vota v.

Hobbs, No. 2:22-cv-509 (D. Ariz. Oct. 27, 2022). Those courts recognized what common sense

and judicial efficiency advise: walling off a party from half the case makes litigation more

complicated, not less. It makes discovery and motions practice more cumbersome, and it invites

disagreement on the scope of participation, likely followed by motions this Court will have to

resolve. Beyond a desire to prejudice the RNC’s interests, Plaintiffs provide no explanation as to

how the Court would benefit from restricting the RNC’s arguments and participation.

       The simplest way to resolve this motion is to grant the RNC permissive intervention in the

DNC case as unopposed, and grant the RNC the same status in the consolidated cases for judicial

efficiency. But if this Court were to consider the intervention motion’s merits, the Plaintiffs’

arguments fail. When an election law case affects the “electoral prospects” of a national political

party, “[v]oluminous persuasive authority” supports the conclusion that the political party has a

legally protectible interest in the controversy. DNC Compl. at ¶108 & n.17 (Doc. 1, No. 1:25-cv-

952) (cleaned up). That is especially true here, as the DNC is contesting the validity of a legal

victory that the RNC secured last year in the Fifth Circuit. Id. ¶¶48, 144, 167 (arguing RNC v.


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Wetzel, 120 F.4th 200 (5th Cir. 2024) was wrongly decided). The RNC’s motion to intervene

should be granted for four reasons: (1) the RNC has standing, (2) the motion is timely, (3) the

RNC’s interests are inadequately represented, and (4) permissive intervention is justified.

                                           ARGUMENT

 I.    The RNC has standing.

       Plaintiffs argue the RNC doesn’t have any “legally cognizable interest,” let alone an Article

III interest to support intervention. Pls.’ Opp. at 7 (Doc. 130). But they ignore half the RNC’s

interests. Plaintiffs claim the RNC lacks standing to litigate only the “proof of citizenship

provisions” of the Executive Order. Id. at 6. They don’t dispute that the RNC has a legally

protectible interest sufficient for standing to litigate the election-day deadline provisions. At a

minimum, the Court should grant the RNC’s motion to defend those uncontested claims.

       In any event, the RNC has independent standing to litigate the other executive order

provisions. Plaintiffs argue that the RNC lacks standing to defend against their other claims, but

their argument proves too much. If the RNC doesn’t have standing, neither do Plaintiffs. Plaintiffs

argue the RNC “simply asserts broad interests in ‘voter registration, get-out-the-vote, and election-

integrity efforts.”’ Id. at 6. Even if that were an accurate description of the RNC’s asserted basis

for standing, Plaintiffs themselves pled standing by merely alleging that the Executive Order

“interfere[s] with” their ability to “provid[e] voter registration services throughout the Nation.” PI.

Op. at 57 (Doc. 104). This Court recognized Plaintiffs’ interest in “registering eligible voters.” Id.

If that interest is too “broad” to support the RNC’s standing, cf. Pls.’ Opp. at 6, Plaintiffs’ case

should be dismissed for their lack of standing.

       Regardless, the RNC has presented evidence supporting far more specific interests than the

Plaintiffs provided. See generally Ambrosini Decl. (Doc. 125-1). Enjoining enforcement of the




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Executive Order’s provisions for upcoming elections will injure the RNC in at least four significant

ways, each of which independently confirms standing.

       First, the RNC will “face intensified competition” that “may harm” the “electoral

prospects” of RNC candidates. Shays v. FEC, 414 F.3d 76, 86 (D.C. Cir. 2005). The RNC is “the

‘party affiliate’ of active candidates for political office” and thus may assert “political-competitor

standing.” PI Op. at 47; see Ambrosini Decl. ¶6. As this Court concluded, Plaintiffs’ requested

relief, if granted, will result in persons who lack proof of citizenship and are more likely to cast

ballots for Democrat candidates being able to register to vote. PI Op. at 63. If the Executive Order’s

proof-of-citizenship requirement stays in place, Democratic “constituents and likely supporters”

will be “unable to register to vote or may be dissuaded” from doing so. Id. This Court specifically

observed that the “active candidacies for reelection to federal office” for Democratic Party

candidates “Jeffries and Schumer” would be improved if the Executive Order’s proof-of-

citizenship requirement were enjoined because “likely supporters” who would otherwise be

“unable to register to vote” and support these candidates would now be able to do so. Id.

       That more Democratic voters will be able to register to vote if the Executive Order’s proof-

of-citizenship requirement is enjoined gives the RNC standing. See Shays, 414 F.3d at 86. The

harm to the RNC’s “election prospects” of more likely Democratic voters being able to register to

vote is an Article III injury. Tex. Democratic Party v. Benkiser, 459 F.3d 582, 586-87 (5th Cir.

2006); accord Mecinas v. Hobbs, 30 F.4th 890, 897 (9th Cir. 2022); see also PI Op. at 46 n.28

(citing Benkiser and Mecinas). Since this Court has held that Democratic candidates will benefit

if the Executive Order’s proof-of-citizenship requirement is enjoined, the RNC has political

competitor standing both as an organization and through its candidate members. PI Op. at 63.




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        Plaintiffs argue “the RNC does not have a legally cognizable interest” in “counteracting

the interests of its political rivals, the Democratic Party Plaintiffs.” Pls.’ Opp. at 7. But they ignore

this Court’s order—supported by Shays and a body of precedent—holding that when one political

competitor “benefits,” the “head-to-head” competitor is “inflict[ed]” with “concrete harms”

sufficient to support standing. PI Op. at 46 & n.28. Since the DNC’s electoral prospects would

improve if the Executive Order is enjoined, the RNC—as the DNC’s head-to-head competitor—

will suffer concrete harm.

        Second, Plaintiffs’ claims will each require the RNC “to adjust” its “campaign strategy”

for future elections to account for court-ordered changes to national election rules. Shays, 414 F.3d

at 87; see Ambrosini Decl. ¶¶24-26. “[C]hanging one’s campaign plans or strategies in response

to” the rules of the election being altered “can itself be a sufficient injury to confer standing.”

Zimmerman v. City of Austin, 881 F.3d 378, 390 (5th Cir. 2018); see also Vote Choice, Inc. v.

DiStefano, 4 F.3d 26, 36-37 (1st Cir. 1993) (an “impact on the strategy and conduct of an office-

seeker’s political campaign constitutes an injury of a kind sufficient to confer standing”). Plaintiffs’

requested relief invites court-ordered changes to national election rules. Because those changes

“necessarily affect the way [Republican] politicians” will “run their campaigns,” the RNC

candidate-members are “at the very least harmed by having to anticipate” the rules governing the

next election cycle. Shays, 414 F.3d at 87.

        Third, the RNC’s core organizational activities are at risk of injury. An organization has

standing when it alleges “perceptibl[e] impair[ment]” to the “organization’s activities” as shown

by a “consequent drain on the organization’s resources.” Havens Realty Corp. v. Coleman, 455

U.S. 363, 379 (1982). The RNC has presented unrebutted evidence that as part of its organizational

activities, it “engages in daily voter registration services for candidates, voters, and local state




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parties” and “relies on state voter rolls for its voter contacts.” Ambrosini Decl. ¶¶24-25. The RNC

has also presented evidence that “[e]njoining enforcement” of the Executive Order’s “proof-of-

citizenship requirement for upcoming elections will require the RNC to divert more resources”

toward “poll-watching activities, voter-roll monitoring, and voter-registration efforts.” Id. at ¶26.

Without the proof-of-citizenship requirement, the RNC will have to divert resources “to ascertain

which” of the “people” who register to vote using the federal form are “registered improperly” and

which of the people who register to vote using the federal form “will be able to vote in the

upcoming election.” Cf. RNC v. N.C. State Bd. of Elections, 120 F.4th 390, 397 (4th Cir. 2024).

          Federal courts have found standing where inaccurate voter rolls frustrate an organization’s

mission and require the organization to divert resources to monitor the rolls. E.g., Jud. Watch, Inc.

v. King, 993 F. Supp. 2d 919, 925 (S.D. Ind. 2012); A.C.R.U. v. Martinez-Rivera, 166 F. Supp. 3d

779, 789-90 (W.D. Tex. 2015); Pub. Int. Legal Found. v. Benson, 2022 WL 21295936, *6 (W.D.

Mich. Aug. 25, 2022). The Plaintiffs rely on similar harms to their “mission” caused by

“divert[ing] resources in order to register voters in” response to the executive order. See, e.g.,

LULAC Compl. at ¶144, 147. The RNC has presented evidence that if the Executive Order’s

proof-of-citizenship requirement is enjoined here, the RNC’s core political activities will be

undermined. Ambrosini Decl., ¶¶24-26. These are injuries sufficient for standing. RNC, 120 F.4th

at 397.

 II.      The motion is timely and doesn’t unduly prejudice anyone.

          Plaintiffs argue that because two months and three days elapsed before the RNC moved to

intervene, the RNC’s motion is untimely. Pls.’ Opp. at 7. Plaintiffs cite no precedent establishing

that two months and three days is too long. To the contrary, moving to intervene “ten months after

the filing of the complaint” can be timely. Foster v. Gueory, 655 F.2d 1319, 1324 (D.C. Cir. 1981).

Here, the RNC moved to intervene before discovery, dispositive motions, or trial. “[M]easuring


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the length of time passed is not in itself the determinative test” for timeliness “because we do not

require timeliness for its own sake.” Roane v. Leonhart, 741 F.3d 147, 210 (D.C. Cir. 2014)

(cleaned up). A motion to intervene may be timely “even where a would-be intervenor could have

intervened sooner.” Id. (cleaned up). Moreover, the RNC will not appeal or move to reconsider

the Court’s order on “the motions for preliminary injunction,” and Plaintiffs can’t explain why that

order would otherwise be relevant to timeliness. Pls.’ Opp. at 7.

        Plaintiffs have provided no legitimate reason why any potential delay would be “undu[e].”

Fed. R. Civ. P. 24(b)(3). Rule 24 considers only “whether the intervention will unduly delay or

prejudice the adjudication of the original parties’ rights.” Id. (emphasis added). “‘Undue’ means

not normal or appropriate.” Appleton v. Comm’r, 430 F. App’x 135, 138 (3d Cir. 2011). Although

“any introduction” of an intervenor “will inevitably cause some ‘delay,’” that kind of ordinary

delay is irrelevant. Id.

        Plaintiffs argue that the RNC will “delay[] the parties’ deliberations.” Pls.’ Opp. at 8. But

in its motion, the RNC promised that it “will comply with all deadlines that govern the parties,

will work to prevent duplicative briefing, and will coordinate with the parties on discovery.” Mot.

to Intervene at 13. Plaintiffs ignore that assurance. But it “is a promise” that undermines claims of

undue delay. Emerson Hall Assocs., L.P. v. Travelers Cas. Ins. Co. of Am., 2016 WL 223794, at

*2 (W.D. Wis. Jan. 19, 2016). Plaintiffs rely on Center for Food Safety v. EPA to argue that the

RNC’s motion isn’t timely. Pls.’ Opp. at 8. But in that case the court held that a motion to intervene

filed “approximately two months after Plaintiffs filed their Complaint” was timely. 2024 WL

1299338, at *4 (D.D.C. Mar. 26, 2024). Plaintiffs’ own cases prove the RNC’s timeliness.

        Plaintiffs’ only real concerns relate to the routine practice of litigation. They speculate that

the RNC will present arguments that “will be merely cumulative to what Defendants will offer”




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and then in the same breath acknowledge that the RNC intends to invoke an “affirmative defense”

that federal Defendants have not raised. Pls.’ Opp. at 8 (cleaned up). But the Court need not

consider whether the RNC will make truly unique arguments when determining whether the

RNC’s intervention is timely or unduly prejudicial. “[F]ederal courts routinely handle cases”

involving “different attorneys taking different positions” and “[w]hatever additional burdens

adding the [RNC] to this case may pose, those burdens fall well within the bounds of everyday

case management.” Berger v. N.C. State Conf. of the NAACP, 597 U.S. 179, 200 (2022).

       Plaintiffs also won’t be prejudiced by having to argue against “affirmative defense[s]”

raised by the RNC. Contra Pls.’ Opp. at 8. Plaintiffs “can hardly be said to be prejudiced by having

to prove a lawsuit [they] chose to initiate.” Security Ins. Co. of Hartford v. Schipporeit, Inc., 69

F.3d 1377, 1381 (7th Cir. 1995). That Plaintiffs’ requested relief might be foreclosed by the Purcell

principle has nothing to do with the timing of the RNC’s intervention and everything to do with

the timing of Plaintiffs’ lawsuit. That Plaintiffs worry they might lose this case if this Court hears

what the RNC has to say does not mean the RNC’s intervention unduly prejudices them.

 III. The RNC’s interests are inadequately represented.

       Plaintiffs argue that the RNC hasn’t made the minimal “showing that its interests are not

adequately represented by Defendants” because the “arguments that the RNC appears poised to

make largely overlap with those that will be raised by Defendants,” and a news report suggests

that Defendants will “vigorously enforce” the challenged Executive Order. Pls.’ Opp. at 12-13

(cleaned up). Plaintiffs’ speculation about what the RNC will argue in the future and hearsay news

report can’t overcome sound precedent. The federal defendants do “not oppose intervention, and

the D.C. Circuit has repeatedly held” that “private” entities “can intervene on the side of the

government, even if some of their interests converge.” Hardin v. Jackson, 600 F. Supp. 2d 13, 16

(D.D.C. 2009) (citing Fund For Animals, Inc. v. Norton, 322 F.3d 728, 736 (D.C. Cir. 2003);


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NRDC v. Costle, 561 F.2d 904, 912-13 (D.C. Cir. 1977)). Moreover, when the federal defendants

“nowhere argue[]” that they will “adequately protect the [RNC’s] interests,” it “raise[s] sufficient

doubt concerning the adequacy” of the federal defendants’ “representation” of the RNC’s interests.

U.S. House of Representatives v. Price, 2017 WL 3271445, at *2 (D.C. Cir. Aug. 1, 2017).

       Plaintiffs confuse divergence of interests with divergence of argument. As defendants who

oppose Plaintiffs’ claims, it is likely that the federal defendants and the RNC will raise similar

arguments. But merely because “both believe [Plaintiffs’ relief] should be denied” does “not mean

that [they] have identical positions or interests.” Georgia v. U.S. Army Corps of Eng’rs, 302 F.3d

1242, 1259-60 (11th Cir. 2002). Plaintiffs cite an out-of-circuit district court decision that was

reversed for purposes of appeal. See Common Cause R.I. v. Gorbea, 970 F.3d 11, 14 (1st Cir.

2020). They also cite a brief filed by the RNC in another case applying the law of another circuit.

The RNC argued that in certain election cases the State may adequately represent the interests of

voting registration organizations—not a political party. Doc. 16 at 8-9, RNC v. Benson, No. 1:24-

cv-262 (W.D. Mich. Apr. 5, 2024). Political parties have dramatically different interests than

nonpartisan voters and the state. See, e.g., Benkiser, 459 F.3d at 586-87 (political parties have

unique interest in amassing political power); Mecinas, 30 F.4th at 898 (political parties have

unique interest in competing against other political parties on the ballot); Crawford v. Marion Cty.

Election Bd., 472 F.3d 949, 951 (7th Cir. 2007) (political party has an interest in conserving party

resources).

       No party to this case adequately represents the RNC’s interests in promoting Republican

candidates’ electoral success, amassing Republican political power, and conserving Republican

Party resources. Defendants are federal officials, who must represent “the public interest.” Coal.

of Ariz./N.M. Cntys. for Stable Econ. Growth v. Dep’t of Interior, 100 F.3d 837, 845 (10th Cir.




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1996). By contrast, the RNC’s interest is inherently “partisan.” La Union del Pueblo Entero v.

Abbott, 29 F.4th 299, 309 (5th Cir. 2022). “Neither the State nor its officials can vindicate such an

interest while acting in good faith.” Id. Federal defendants have no interest in the election of

Republican candidates, the mobilization of Republican voters, or the costs associated with either.

Instead, as federal officials acting on behalf of U.S. citizens and the federal government itself, the

federal defendants must consider a range of interests likely to “diverge” from the RNC. Utah Ass’n

of Ctys. v. Clinton, 255 F.3d 1246, 1254 (10th Cir. 2001). Those clashing interests include the

interests of Plaintiffs, “the expense of defending the current [rules] out of [federal] coffers,” Clark

v. Putnam Cnty., 168 F.3d 458, 462 (11th Cir. 1999), and “the social and political divisiveness of

the election issue” to the State, Meek v. Metro. Dade Cnty., 985 F.2d 1471, 1478 (11th Cir. 1993).

By contrast, the RNC cares about this case’s effect on the Republican Party, Republican candidates,

and Republican voters. Thus, the federal defendants’ representation of the public interest “cannot

be assumed to be identical to the individual parochial interest of [the RNC] merely because both

entities occupy the same posture in the litigation.” Utah Ass’n of Ctys., 255 F.3d at 1256.

 IV. Plaintiffs provide no legitimate reason why permissive intervention is inappropriate.

       The simplest way to resolve this motion is to grant the RNC permissive intervention. The

RNC need not even demonstrate inadequate representation to justify permissive intervention. Doc.

42 at 5, Black Voters Matter Fund v. Raffensperger, No. 1:20-cv-4869 (N.D. Ga. Dec. 9, 2020).

Plaintiffs resist permissive intervention only because they believe the RNC seeks to “echo” the

arguments of the federal defendants. Pls.’ Opp. at 14 (cleaned up). Yet Plaintiffs acknowledge that

the RNC presents an affirmative defense based on the Purcell doctrine that the federal defendants

do not—and they get ahead of themselves by prematurely arguing the merits of Purcell. Id. at 10-

11. Even if the RNC had presented exactly the same affirmative defenses as the federal defendants,

its analysis of the merits at later stages will aid the Court. In election law cases, the RNC “bring[s]


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perspective that others miss or choose not to provide.” Nielsen v. DeSantis, 2020 WL 6589656, at

*1 (N.D. Fla. May 28, 2020). “[I]t cannot be said with assurance that the existing parties will frame

the issues so well that the proposed intervention will add nothing of value. Even good lawyers

sometimes miss things.” Id.

       Permissive intervention is also warranted because the RNC and DNC are direct political

competitors. As the national rival of the DNC, the RNC is “uniquely qualified to represent the

‘mirror-image’ interests” of the DNC. DNC v. Bostelman, 2020 WL 1505640, at *5 (W.D. Wisc.

Mar. 28, 2020) (granting permissive intervention to the RNC). The federal defendants don’t and

can’t mirror the DNC’s interests. When the DNC challenged Arizona’s proof-of-citizenship

requirement in federal court, the RNC was granted permissive intervention. Doc. 18 at 1, DNC v.

Hobbs, No. 2:22-cv-1369 (D. Ariz. Aug. 23, 2022). The RNC’s involvement proved essential in

that case; it raised arguments and appealed decisions that the state defendants didn’t, and it secured

emergency relief from the Supreme Court this past election cycle that each state defendant

opposed. See RNC v. Mi Familia Vota, 145 S. Ct. 108 (2024). No party is better positioned than

the RNC to participate in a case brought by the DNC to change the federal rules governing

elections.

       Finally, the RNC’s intervention will aid the Court in resolving relevant legal precedent.

Plaintiffs ignore that the Executive Order’s election-day provision rests on RNC v. Wetzel, a case

that the RNC brought and won in the Fifth Circuit. The RNC has a wealth of legal knowledge and

experience on those issues that no other party possesses. And it has an obvious legal and practical

interest in defending against Plaintiffs’ legal attack on this precedent. Because the RNC will

“contribute a perspective” that will “not otherwise be represented in this matter,” permissive

intervention is warranted. Humane Soc. of U.S. v. Clark, 109 F.R.D. 518, 521 (D.D.C. 1985).




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                                 CONCLUSION

 For the foregoing reasons, the Court should grant the RNC’s motion to intervene.

 Dated: June 9, 2025                         Respectfully submitted,

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